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No.     Description                                      I.D.   Off.   Adm.   Witness
1       KU Policy Acknowledgement Form signed by
        Tao dated 8/18/2014
2       (Intentionally Blank)
3       Kansas Board of Regents Commitment of
        Time/Conflict of Interest Policy
3A      KU Individual Financial Conflict of Interest
        Policy
4       KU Handbook for Faculty and Other Unclassified
        Staff
5       KU Principal Investigator Policy
6       KU Buyout Policy
7       (Intentionally Blank)
8       (Intentionally Blank)
9       KU Proposed Offer Letter
10      (Intentionally Blank)
11      KU Signed Offer of Appointment 2015
12      KU 2017-18 Salary Appointment Letter
13      KU 2018-19 Salary Appointment Letter
14      KU 2018 Joint Appointment Change
15      KU Payments to Tao 2014-2020
16      Tao’s KU Research Awards and Proposals
17      KU Effort Audit Report (11.05.17-06.16.18)
18      KU Effort Audit Report (06.17.18-12.29.18)
19      KU Effort Audit Report (12.30.18-06.15.19)
20      Tao’s Salary 2015-2019 with award budgets and
        salary correlation
21      Tao KU 2019 Summer Pay Notification
22      Tao’s KU Annual Conflict Disclosure Form
        2015-2016
23      Tao’s KU Annual Conflict Disclosure Form
        2016-2017
24      Tao’s KU Annual Conflict Disclosure Form
        2017-2018
25      Tao’s KU Annual Conflict Disclosure Form
        2018-2019
26      Tao’s 2015 Performance Evaluation signed by
        Tao and Weatherley, dated 2/17/2016
27      Tao’s 2016 Performance Evaluation signed by
        Tao and Weatherley, dated 2/21/2017
28      Tao’s 2017 Performance Evaluation signed by
        Tao and Weatherley, dated 2/25/2018
29      Tao’s 2018 Performance Evaluation signed by
        Tao and Weatherley, dated 2/25/2019


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No.     Description                                        I.D.   Off.   Adm.   Witness
30      Letter dated 6/1/2016 to Tao from Brian Laird re
        Chemistry Department evaluation
31      DOE Application/Proposal submitted 5/21/2015
        re: Award No. DE-SC0014561
32      FY 2017 Continuation of Solicitation for the
        Office of Science Financial Assistance Program
        (DE-FOA-0001664)
33      DOE Application/Proposal submitted 12/11/2017
        re: Award No. DE-SC0014561 (DE-FOA-
        001664)
34      Research Performance Progress Report #7776 for
        9/15/2018 – 9/14/2019 related to DOE award No.
        DE-SC0014561
35      (Intentionally Blank)
36      PAMS printout for Award DE-SC0014561
37      DOE Assistance Agreement for Award DE-
        SC0014561 with effective date 9/15/15
38      DOE Assistance Agreement for Award DE-
        SC0014561 with effective date 9/15/16
39      DOE Assistance Agreement Modification 2 for
        Award DE-SC0014561, dated 9/15/17
40      DOE Assistance Agreement Modification 3 for
        Award DE-SC0014561, dated 9/15/18
41      DOE Assistance Agreement Modification 4 for
        Award DE-SC0014561 dated 9/15/2019
42      Special Terms and Conditions (related to Award
        DE-SC0014561)
43      DOE Federal Assistance Reporting Checklist and
        Instructions (Aug. 2018)
44      DOE-NREL Price Proposal Form, signed by
        Alicia Reed, dated 1/29/2018
45      DOE-ORNL Solicitation 6400015472, signed by
        Alicia Reed, dated 5/7/2018
46      DOE-ORNL Subcontract No. 400162561 signed
        by Alicia Reed on behalf of KU, dated 5/23/2018
47      DOE-NREL Price Proposal Form, signed by
        Alicia Reed, dated 4/23/2019
48      NSF PPAG 2017
49      NSF Career Grant Proposal, Notre Dame, dated
        7/24/2013 (CHE-1352516)
50      NSF Career Grant Transfer from Notre Dame to
        KU, dated 9/10/2014 (CHE-1462121)
51      NSF Career Grant Letter, KU, dated 12/1/2014
        (CHE-1462121)

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No.     Description                                     I.D.   Off.   Adm.   Witness
52      NSF Annual Project Report, dated 6/3/2018
        (CHE-1462121)
53      NSF Grant Proposal, dated 2/20/2015 (OIA-
        1539105)
54      NSF Annual Project Report, dated 7/19/2019
        (OIA-1539105)
55      NSF Grant Proposal, dated 10/02/2017 (CHE-
        1800577)
56      NSF Grant Letter, dated 6/28/2018 (CHE-
        1800577)
57      NSF Annual Project Report, dated 7/5/2019
        (CHE-1800577)
58      NSF Award Suspension Letter, dated 8/26/2019
59      KU Expenses Spreadsheet for Tao’s Awards
60      KU-NSF and DOE Draw Spreadsheet (CHE-
        1462121 & DE-SC0014561)
61      KU-NSF Draw Spreadsheet (CHE-1800577 &
        OIA-1539105)
62      (Intentionally Blank)
63      NSF Notice of Award, dated 8/1/2015 (OIA-
        1539105)
64      (Intentionally Blank)
65      DOE Notice of Award, dated 10/3/2018 (DE-
        SC0014561)
66      (Intentionally Blank)
67      8056 Tao PI Checklist, dated 12/1/2014
68      111414 Tao KAUST PI Checklist, dated
        11/14/2014
69      8747 Tao PI Checklist, dated 1/6/2015
70      11332 Tao PI Checklist, dated 10/08/2015
71      11193 Tao PI Checklist, dated 9/30/2016
72      11331 Tao PI Checklist, dated 10/20/2016
73      11409 Tao PI Checklist, dated 10/27/2016
74      11455 Tao PI Checklist, dated 11/7/2016
75      11648 Tao PI Checklist, dated 01/12/2017
76      12900 Tao PI Checklist, dated 10/20/2017
77      12938 Tao PI Checklist, dated 10/30/2017
78      Streamlyne Admonishment Screenshot
79      26596 Streamlyne Routing Approved, dated
        1/29/2018
80      (Intentionally Blank)
81      38981 Streamlyne Routing Not Approved, dated
        6/28/2018 (Fuzhou University Subaward
        Contract)

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No.      Description                                        I.D.   Off.   Adm.   Witness
82       38981 PI Streamlyne Questionnaire (Fuzhou
         University Subaward Contract)
83       May 15, 2017 KU Department of Chemistry Tao
         evaluation
84       (Intentionally Blank)
85       (Intentionally Blank)
86       (Intentionally Blank)
87       (Intentionally Blank)
88       (Intentionally Blank)
89       (Intentionally Blank)
90       (Intentionally Blank)
91       (Intentionally Blank)
92       (Intentionally Blank)
93       (Intentionally Blank)
94       (Intentionally Blank)
95       (Intentionally Blank)
96       (Intentionally Blank)
97       (Intentionally Blank)
98       (Intentionally Blank)
99       (Intentionally Blank)
100      Email exchange dated 12/17/2014 between Tao
         and Miranda regarding professor in China could
         be included as co-PI
101      Email exchange dated 4/27/2015 between
         Miranda and Tao with subject “Please update
         status C&P support”
102      Email dated 5/18/2015 from Tao to Miranda,
         including message from De-en Jiang, with subject
         line “Joint Proposal with Feng Tao
103      Email exchange dated 6/11/2015 with subject
         “Your DOE Proposal – request for 3 documents”
104      Email dated 5/23/2016 exchange between Tao
         and Xinchen Wang with subject “nice to meet
         you in Wuhan”
104A     English translation of above (DOJ-01422068)
105      Email dated 9/16/16 from Tao to Schwartz,
         Miranda, asking questions related to budget for
         DOE
106      (Intentionally Blank)
107      Email exchange dated 5/23/2017 between Tao
         and hxxy@fzu .edu.cn asking to meet when Tao
         visits in June 2017
107A     English translation of above (DOJ-01422083)
108      (Intentionally Blank)

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No.      Description                                         I.D.   Off.   Adm.   Witness
109      (Intentionally Blank)
110      Email Dated 6/19/2017 from Xinchen Wang to
         Tao
110A     English translation of above (DOJ-01422088)
111      (Intentionally Blank)
112      Email dated 7/1/2017 from Suc Kingdom to Tao,
         stating “attachment is a template of the
         exceptional application form”
112A     English translation of above (DOJ-01425045)
113      Attachment to email (Ex. 112)
113A     English translation of above (DOJ-01425047)
114      Email exchange between Tao and Suc Kingdom
         dated 7/5/2017 re: Changjiang Scholar
         application
114A     English translation of above (DOJ-01292318)
115      Email exchange between Tao and Suc Kingdom
         dated 7/5/2017 re: Changjiang Scholar
         application, attaching materials

115A     English translation of above (DOJ-01292481)
116      Attachment to email (Ex. 115)
116A     English translation of above (DOJ-01425054)
116B     Attachment to email (Ex. 115)
116C     English translation of above (DOJ-01425055)
116D     Attachment to email (Ex. 115)
116E     English Translation of above (DOJ-01425056)
117      Email dated 7/27/2017 with subject “RE: quick
         question” from Bala Subramanian to Tao, et al, to
         email above, where it is recommended that Tao
         complete a “consulting request.”
118      Email exchange dated 7/27/2017 with Tao with
         subject “RE: quick question,” where Tao is
         advised to properly disclose information on
         conflict of interest forms
119      (Intentionally Blank)
120      First attachment: Fuzhou university excel
         spreadsheet
120A     English translation of above (DOJ-01420357)
121      Second attachment: Notice regarding 2017
         Changjiang Scholars award program peer expert
         review meeting
121A     English translation of above (DOJ-01424260)
122      (Intentionally Blank)
123      (Intentionally Blank)

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No.      Description                                          I.D.   Off.   Adm.   Witness
124      Email exchange dated 11/13/2017 with Chinese
         Consulate and Tao with attachments
124A     English translation of above (DOJ-01420357)
125      Email dated 12/8/2017 from Cynthia Walker at
         KU to Schwartz, cc’ing Tao stating “Dr Tao is
         currently traveling in Asia…”
126      Email dated 12/15/2017 re: receipt of DOE
         proposal
127      (Intentionally Blank)
128      Email to Tao from Jiang Lilong, FZU, dated
         1/11/2018, including exchange in which Tao
         states he will visit Lilong’s center when he is at
         Fuzhou. Lilong congrats Tao on winning the
         National Chemical Industry Award
128A     English translation of above (DOJ-01420357)
129      Email from Tao to Laird dated 1/26/2018 with
         subject “share with you my concern,” including
         Tao’s CV as attachment
130      “Franklin (Feng) Tao CV” included as attachment
         above
131      Email dated 2/5/2018 from Su Siwen to Tao
         attaching Changjiang Scholars Distinguished
         Professor Appointment Contract Tao Feng-
         Template
131A     English translation of above (DOJ-01420388)
132      Attachment: Changjiang Scholars Distinguished
         Professor Appointment Contract Tao Feng-
         Template
132A     English translation of above (DOJ-01424848)
133      Email dated 2/5/2018 from Su Siwen to Tao
         attaching Supplementary Agreement for the
         Appointment Contract of Changjiang Scholars
         Distinguished Professor
133A     English translation of above
134      Supplementary Agreement for the Appointment
         Contract of Changjiang Scholars Distinguished
         Professor
134A     English translation of above (DOJ-01420357)
135      (Intentionally Blank)
136      Email dated 2/22/2018 from 364753451@qq
         .com (Su Siwen) to Tao stating I have arrived in
         Fuzhou.
136A     English translation of above (DOJ-01425043)


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No.      Description                                       I.D.   Off.   Adm.   Witness
137      Email exchanged dated 3/15/2018 between Tao
         and Huimin Liu regarding projects to develop at
         Fuzhou University
138      Email exchange dated 3/20/2018 between Tao
         and Huimin Liu regarding projects to develop at
         Fuzhou University
139      Email dated 3/29/2018 to Tao attaching Fuzhou
         University Mentors Mutual Selection Form (DOJ-
         01424248)
139A     English translation of above
140      Attachment: Fuzhou University Mentors Mutual
         Selection Form
140A     English translation of above (DOJ-01424249)
141      (Intentionally Blank)
142      Email dated 5/17/2018 from Tao to NSF stating
         he and co-PI will prepare requested documents
143      Email exchange dated 5/18/2018 involving NSF
         request for updated C&P, attached C&P
144      Attached C&P dated May 2018
145      Email dated 5/17/2018 from Tao to Weatherley
         and CC to Chris Brown, with subject “letter to
         apply a four-month no payment leave in spring
         2019” including attachments Letter to apply…”
         and “Franklin Tao Collaboration2019.pdf”
         requesting four month no-payment leave.
146      Attached letter to apply for no-payment leave
147      Attached Max Plank Collaboration Letter
148      Email dated 5/17/2018 from Tao regarding
         Subaward from Fuzhou University and
         identifying Lilong Jiang as collaborator
149      Fuzhou University Sub-award Contract
150      Email dated 5/21/2018 from Tao to Weatherley
         indicating using DOE grant for Spring 2019
         buyout
151      (Intentionally Blank)
152      Email exchange dated 5/29/2018 with subject
         “RE: Research contract from Fuzhou University,
         China”
153      Email exchange dated 5/29/2018 with Kimberly
         Wittman about Subaward from Fuzhou
         University
154      Email exchanged dated 6/5/2015 with NSF
         program manager


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No.      Description                                         I.D.   Off.   Adm.   Witness
155      Email dated 6/8/2018 from Tao to Liu with
         subject “proposal for advertisement” in which
         Tao states, “Please check the grammar and
         contact email (!) before you paste it.”
156      Attached advertisement
156A     English translation of above (DOJ-01424825)
157      Email dated 6/13/2018 between Tao and Haaheim
         with subject “budget” in which Tao discusses
         buyout of course in 2019
158      Email dated 6/15/2018 from Tao’s KU account to
         Zhang’s KU account
158A     English translation of above (DOJ-01425009)
159      Email dated 6/15/2018 between Tao and Zhang
159A     English translation of above (DOJ-01425010)
160      Email dated 6/17/2018 with subject “About the
         advertisement on Japanese website” between Tao
         and 15810724205@163.com
161      Email dated 6/17/2018 from Tao to Tomoko
         Shimizu with subject “Coming to Kelo?,” in
         which Tao responds – “A group in China being
         led by one Changjiang Professor has opening of a
         few faculty positions……”
162      Email dated 6/20/2018 from Tao to Robit Kumar
         with subject “Postdoc position in Your Group”, in
         which Tao tells Kuma, “I have a collaborative
         project with Dr. Huimin Liu at Fuzhou University
         in China.”
163      Email exchange dated 6/20/2018 between Tao
         and Shiran Zhang with subject “About
         application” and reference to Fuzhou University
164      Email dated 6/22/2018 from Tao to Weatherley
         about proposed buyout during end of 2017 office
         meeting, with attached letter requesting buyout
165      Attached buyout letter
166      Email dated 6/22/2018 from Tao to Weatherley
         about buyout
167      Email dated 6/25/2018 from Tao to Weatherley
         thanking Weatherley for approving buyout for
         Spring 2019
168      Email dated 6/25/2018 with subject “FW:
         Postdoctoral Position” from Tao to Mohan Mood,
         stating, “Prof. Liu has postdoc opening at Fuzhou
         University in China. I collaborated with her. …”



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No.      Description                                         I.D.   Off.   Adm.   Witness
169      Email dated 6/25/2018 from Tao to Jiang-Lilong
         about Fuzhou University subaward contract
170      Email exchange between Tao and Kimberly
         Wittman dated 6/26/2018 related to FZU / KU
         collaboration, with subject “PI Checklist for
         Fuzhou University proposal”
171      Email exchange dated 6/26/2018 with Kimberly
         Wittman where Tao asks about budgeting for
         second buyout in Spring 2020

172      Email dated 6/26/2018 from Tao to Anita Abel
         with subject “Permission Needed to Pay Yuting’s
         Tuition” regarding FZU award
173      Email from Tao dated 7/1/2018 to Mizuki Tada,
         with subject “RE: Departure date”
174      Email dated 7/3/2018 with subject “Re:re:re:
         Recommendation Letter” from Tao to jgfeng2017
         @sinano.ac.cn, in which Tao states, “Please send
         me a list of people of STM who are currently in
         overseas and potentially would go back to China
         to work.”
174A     English translation of above (DOJ-01425036)
175      (Intentionally Blank)
176      (Intentionally Blank)
177      Email dated 7/4/2018 from Tao’s Fuzhou
         University account to Su Siwen with Zhang
         copied with attachment
177A     English translation of above (DOJ-01425018)
178      Email dated 7/5/2018 from Tao to Liu, with
         subject Re: ad and postdoc positions, asking that
         she tell Professor Su that “…my flight from Japan
         to Shanghai Pudong is 1:30 pm today.”
179      Email dated 7/5/2018 with subject “Re:
         Application for a Postdoctoral Position,” between
         Tao and Liu. Tao directs, “Please use the
         following general titles for them:….”
180      Email dated 7/5/2018 from Su Siwen to Tao with
         subject (in Chinese) “Booking Information”
180A     English translation of above (DOJ-01425042)
181      (Intentionally Blank)
182      (Intentionally Blank)
183      Email dated 7/9/2018 from Tao’s FZU account to
         SSW@fzu.edu.cn, cc’ing Zhang’s KU account
183A     English translation of above (DOJ-01425011)

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No.      Description                                        I.D.   Off.   Adm.   Witness
184      (Intentionally Blank)
185      (Intentionally Blank)
186      (Intentionally Blank)
187      Email dated 7/13/2018 from Tao to
         chemocomm@rsc.org with subject “Re: Your
         Chemical Communications article proof is ready
         for checking” including attachment with filename
         “Revised Supplementary Information v7.docx”
188      Attachment: Revised Supplementary Information
188A     Attachment: List of Corrections
189      Email dated 7/14/2018 from Tao to
         jll@fzu.edu.cn attaching agreement and contract
         of project
189A     English translation of above (DOJ-01425035)
190      English language attachment, Fuzhou University
         subaward contract
191      (Intentionally Blank)
192      (Intentionally Blank)
193      Email dated 7/16/2018 from Tao to Schwartz
         attaching Current and Pending Support
194      Document entitled “Current and Pending
         Support” provided by Tao to Schwartz
195      Email dated 7/16/18 from Tao’s KU account to
         Zhang’s KU account with subject (Chinese) “RE
         Fuzhou University”
195A     English translation of above (DOJ-01425033)
196      Email dated 7/16/2018 from Tao to
         wangye@xmu .edu.cn (in Chinese) stating it is
         difficult to recruit people in Fuzhou

196A     English translation of above (DOJ-01424196)
197      Email dated 7/24/2018 from Tao to Liu
         forwarding email from Gholamreza, with subject
         “Re: Postdoctoral applicant experienced…..”
198      Email dated 7/25/2018 from Tao’s KU account to
         Tao’s FZU account forwarding powerpoint
199      King Abdullah University of Science and
         Technology and KU Subaward Agreement
200      (Intentionally Blank)
201      (Intentionally Blank)
202      (Intentionally Blank)
203      Email dated 8/27/2018 from Tao to Hong Peng
         forwarded DOJ article about NSF grant fraud
         prosecution

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No.      Description                                         I.D.   Off.   Adm.   Witness
204      Email dated 9/12/2018 with subject “PI-Tao”
         wherein Tao states “I just got back from a
         conference.”
205      (Intentionally Blank)
206      (Intentionally Blank)
207      Email exchange dated 9/18/2018 with subject RE
         (Chinese characters) Mahak from TIFR:
         Application for the Postdoctoral Position in your
         Lab”
208      Email exchange dated 10/23/2018 between Tao
         and Cenline Richard with subject “Re: About my
         term” in which Tao states, “I got a joint
         appointment at Fuzhou University.”
209      Email exchange dated 11/7/2018 between Tao
         and another person, in Chinese, dated
210      Email exchange dated 11/9/2018 between Tao
         and another person, Tao says, “Please add me to
         your wechat
211      Email exchange dated 11/9/2018 between Tao
         and KU regarding Fuzhou University subaward
         contract
212      Email dated 11/29/2018 from Tao to Tao
         attaching Laboratory Powerpoint
213      Laboratory Powerpoint
213A     English translation of above (DOJ-01422526)
214      Email dated 11/29/2018 from Tao to Hong Peng
         attaching Photograph of Su Siwen’s Credit Card
215      Photograph of Su Siwen’s Credit Card
216      Email dated 11/30/2018 with subject “CNC lathe
         package” involving discussion of CNC lathe
         package for Fuzhou University
217      Email dated 12/13/2018 with subject “Re:
         Application for Postdoc Position from Yaxin
         Chen, Fudan University” between Tao and Chen
218      Email dated 12/20/2018 with subject
         “FW…Quotation for vacuum chamber…” from
         Tao to ssw@fzu. edu.cn
218A     English translation of above (DOJ-00130370)
219      Attachment to email above
219A     English translation of above (DOJ-01425032)
220      Email dated 1/1/2019 from Tao to Henrik
         Rudolph, in which Tao states, “I am currently in
         China.”
221      (Intentionally Blank)

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No.      Description                                          I.D.   Off.   Adm.   Witness
222      (Intentionally Blank)
223      Email dated 1/8/2019 between Tao, Nguyen, with
         Tang cc’d with subject “Re: meeting with
         Phillipe”
224      Email dated 1/11/2019 from Tao to Nguyen and
         Yu Tang with Subject “Re: check price”
         referencing “The new chamber designs for
         Fuzhou were sent out to American company this
         Wednesday.”
225      Email dated 1/17/19, with subject line “Faculty
         Retreat,” from Tao to Weatherley stating he
         cannot attend faculty retreat due to conference in
         Germany
226      Email dated 1/20/2019 from Tao to Karim Khan,
         in which Tao states, “Are you interested in a
         postdoc position in Fuzhou University in China?”
227      Email dated 1/27/2019 between Tao and Palacio
         with subject line “information on a postdoc
         fellow position in China”
228      Email from Tao to Celine Richard and Carina
         Arasa Cid dated 1/28/2019, with subject “Quick
         question,” in which Tao states, “…(I am
         currently in China).”
229      Email dated 1/28/2019 from Tao to himself
         sending attachment (in Chinese)
230      Attachment to email above
230A     English translation of above (DOJ-01425025)
231      Email dated 1/31/2019 with subject “ABET
         Outcome Evaluations” from Tao to Weatherley
         and Camarda stating, “I am travelling in
         Germany.”
232      (Intentionally Blank)
233      Email from Tao dated 2/20/2019 to Weatherley
         stating “I am visiting FHI at Germany…”
234      Email dated 2/25/2019 forwarding email from
         Palacio Olarte accepting position in China to
         wulz@ fzu.edu.cn
235      Ruben Palacio Olarte Acceptance Letter to Tao
236      Email dated 3/4/2019 from Sen Lin (slin@fzu
         .edu.cn) to another person, cc’ing Tao’s Gmail
         and KU accounts, stating (in Chinese) “Hello
         Xiao Chen, if you want to do experimental
         subjects, you can also contact Professor Tao
         Feng, Changjiang Scholar of our school.

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No.      Description                                         I.D.   Off.   Adm.   Witness
236A     English translation of above (DOJ-01425039)
237      (Intentionally Blank)
238      Email dated 3/10/2019 from Tao to Chen Yu-wen
         re: NNSFC grant collaboration
239      Email dated 3/11/2019 from Lizhi Wu copying
         Tao’s KU account
239A     English translation of above (DOJ-01425004)
240      Email dated 3/11/2019 forward from Tao’s KU
         account to taofeng@fzu.edu.cn
240A     English translation of above (DOJ-01425023)
241      Email dated 3/12/2019 to Tao attaching Signed
         Collaboration Agreement with Taiwan University
241A     English Translation of above (DOJ-01425038)
242      Attachment: Signed Collaboration Agreement
         with Taiwan University
242A     English Translation of above (DOJ-01422764)
243      Email dated 3/12/2019 from Tao re: Signed
         Collaboration Agreement with Taiwan University
244      Email dated 3/12 from Tao to Yu-Wen Chen re:
         Signed Collaboration Agreement with Taiwan
         University
245      Email dated 3/15/2019 from Tao to wulz@
         fzu.edu.cn with subject “The Postdoctor
         Application Material in Fuzhou Uninversity (sic)”
246      Email dated 3/17/2019 from Tao to Yu-Wen
         Chen with subject (in Chinese)
246A     English translation of above (DOJ-01422100)
247      Email dated 3/26/2019 between Tao and
         Weatherley about Tao’s need to meet with 22
         advisees and required duty of advising
248      Email dated 3/26/2019 between Weatherley and
         Tao congratulating Tao for award
249      Email dated 4/2/2019, with subject “Buy outs for
         FY 2020,” from Tao to Weatherley stating he
         plans to buy out Spring 2020 with DOE funds
250      (Intentionally Blank)
251      Email dated 4/23/2019 with subject
         “REMINDER Review of proposals…” from Tao
         to Schwartz stating “I am on two conferences….”
252      Email dated 5/18/2019 with subject “seeking
         collaboration” from Jiafeng Wu (wjf@izu.edu.cn)
         asking Tao to run in situ XPS.




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No.      Description                                         I.D.   Off.   Adm.   Witness
253      Email dated 5/21/2019 from Tao (using KU
         email) to Tang, stating, “You should use your
         Fuzhou address instead of Kansas. Please send
         your address. I will only use my Kansas. No
         need to mention my address.”
254      Email dated 5/23/2019 with subject
         “IMPORTANT: Funding to Pay CPE for Course
         Buyout”
255      Email dated 5/25/2019 from Jianfeng Wu
         (wjf@izu.edu.cn) to Tao about recruiting students
255A     English translation of above (DOJ-01425020)
256      Email dated 5/29/2019 from Tao to 2317753584
         @qq.com stating “Please send it to Fuzhou
         University.”
256A     English translation of above (DOJ-01425022)
257      Email dated 6/4/2019 from Tao to Jane Johns
         stating “Please use DOE fund”
258      (Intentionally Blank)
259      (Intentionally Blank)
260      (Intentionally Blank)
261      (Intentionally Blank)
262      Email exchange dated 8/8/2018 between Nguyen
         and Yu Tang with subject “Fuzhou equipments
         list”
263      Powerpoint,
         “Machine_shop_equipment_list.pptx” attached to
         email from Nguyen to Tang
264      Email dated 9/10/2018 from Nguyen to Tang with
         subject “Fuzhou credit card purchases” including
         attachments (Figure_49.pdf, Figure_53.pdf and
         Figure_58.pdf)
265      Attachment to Exhibit 264
266      Attachment to Exhibit 264
267      Attachment to Exhibit 264
268      Email dated 11/27/2018 from Nguyen to Tang
         with subject “Fuzhou AP-XPS chambers
         quotation”
269      Email dated 12/17/2017 between Tao and
         Nguyen with subject “RE: Can you show me the
         laser heating…
270      Email dated 12/12/2018 between Nguyen and
         tangyu.zju@gmail with subject “Re:Fwd:
         Quotation request from Fuzhou University” with
         attachment “1100M Selected Package.pdf”

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No.      Description                                        I.D.   Off.   Adm.   Witness
271      (Intentionally Blank)
272      (Intentionally Blank)
273      Email dated 12/29/2018 – from Tao to Nguyen
         with cc to Tang, with Subject “Science and
         Instrumentation” including attachment “AP
         Energy Analyzer Schedule.docx
274      Document, entitled “AP Energy Analyzer
         Schedule.docx” attached to email above
275      Email dated 12/30/2018 from Tao to Nguyen with
         subject “Purchase parts for reaction cell”
276      Email dated 12-31-2018 with subject “please
         reply me email in time” from Tao to Nguyen
277      (Intentionally Blank)
278      (Intentionally Blank)
279      Email dated 1/12/2019 from Tao to Nguyen with
         subject “Re: skype discuss”
280      (Intentionally Blank)
281      (Intentionally Blank)
282      Email exchange with subject “RE: Chamber w/
         Mu-Metal Liners, dated 2/7/2019 between
         Nguyen and Bowers, related to purchase of items,
         in which Nguyen says, “Fuzhou will be paying
         for this project.”
283      Email exchange dated 3/30/2019 between Ben
         Bowers (Anderson Dahlen) and Nguyen
         regarding shipping of items to China.
284      Email dated 4/29/2019 from Tao to Nguyen with
         attachments (datasheet.pdf); CU target
         assembly.pdf
285      Attachment datasheet.pdf
286      Attachment CU target assembly.pdf
287      Email dated 11/17/2017 from Suc Kingdom to
         Tao attaching Tao-Changjian-PPT-1-llh.ppt
287A     English translation of above (DOJ-01425044)
288      Attachment to above email
288A     English translation of above (DOJ-01421037)
289      Email dated 12/21/2017 from s0302313@qq.com
         to Tao attaching three Fuzhou University and
         talent plan policy documents
289A     English translation of above (DOJ-01424827)
289B     Attachment to Exhibit 289
289C     English translation of above (DOJ-01424828)
289D     Attachment to Exhibit 289
289E     English translation of above (DOJ-01424841)

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No.      Description                                        I.D.   Off.   Adm.   Witness
289F     Attachment to Exhibit 289
289G     English translation of above (DOJ-01424846)
290      05/29/19 email from Mizuki Tada to Tao titled,
         “would you take a visiting student”
291      Email dated 10/9/18 from Tao to Weatherley
         regarding FHI & German visa
291A     Attachment to Exhibit 291
292      3/3/17 email from Tao to KU conflict of interest
292A     Attachment to Exhibit 292
293      2/27/18 email between Tao and FHI with subject
         line, “Re: Could I ask an invitation letter from
         you”
294      10/09/18 email between Tao and FHI with subject
         line, “Re: Invitation to give a lecture”
295      10/09/18 email between Tao and FHI with subject
         line, “Re: Invitation to give a lecture”
296      12/04/17 email between Tao and Aaron Scurto
         with subject line, “RE: Could you please help on
         the CPE 721 lecture on the coming Tuesday 1-
         2:15PM?”
297      12/12/17 email between Hong Peng and Tao
         titled, “Expedia Travel Confirmation – Dec 13…”
298      Attachment to 05/21/18 email to Tao regarding
         itinerary from Fuzhou to Nagoya, Japan
299      05/12/18 email to Tao titled, “proposal for
         advertisement”
299A     Attachment to Exhibit 299
299B     English translation of above (DOJ-01420357)
300      Certificate of Authenticity dated 7/26/2019 from
         Dylan Reim, records custodian, Google, and
         attachment related to account Franklin.Tao.2017
301      Certificate of Authenticity dated 9/13/19 from
         Claire Cole, records custodian, Google and
         attachment related to account Franklin.Tao.2017
302      Account info for Franklin.Tao.2017
303      (Intentionally Blank)
304      (Intentionally Blank)
305      (Intentionally Blank)
306      (Intentionally Blank)
307      Email dated 6/21/2018 related to advertisement
         sent from fzhuzhaopin@163.com with Su Siwen
         copied and Franklin.Tao.2017 blind copied
308      Attachment: English Advertisement
309      Email dated 7/4/2018 from Su Siwen to Tao

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No.      Description                                          I.D.   Off.   Adm.   Witness
309A     English translation of the above (DOJ-01424239)
310      Email dated 9/27/2018 from Tao to Jiabo Ding
         stating “Are you interested in working as a
         postdoc at my group at Fuzhou University (also
         opportunity in USA)?
311      Email dated 11/30/2018 from Tao to Yuli stating
         “This is Franklin from Fuzhou University and
         University of Kansas”
312      Email dated 2/10/2019 from Tao to Shouyyn
         stating “I supervise some postdocs in the group at
         Fuzhou University”
313      Email dated 8/3/2019 from Tao to Hong Peng
314      Attachment to Exhibit 313: 陶丰长江学者合同 -
         修改版.doc
314A     English translation of attachment (DOJ-
         01420406)
315      Email dated 8/3/2019 from Tao to Tao’s Fuzhou
         University email address
316      Attachment: 陶丰长江学者合同 -修改版.doc
317      Certificate of Authenticity dated 5/01/2020 from
         Lucy Daugherty, records custodian, Google, and
         attachment related to accounts SCI.5886 and
         Franklin.Tao.2011
318      Account info for Franklin.Tao.2011
319      (Intentionally Blank)
320      (Intentionally Blank)
321      Email dated 3/9/2018 from Tao to Su Siwen
         attaching signed Fuzhou University contract
         addendum
321-1    Attachment to Exhibit 321
322      Email dated 4/16/2018 attaching Fuzhou
         University Mentors Mutual Selection Form
         signed by Tao dated 3/31/2018
322A     English translation of above (DOJ-01425005)
323      Fuzhou University Mentors Mutual Selection
         Form signed by Tao dated 3/31/2018
323A     English translation of above (DOJ-01425006)
324      01/25/18 email from Hong Peng to
         franklin.tao.2011@gmail.com titled, “Expedia
         travel confirmation – Jan 27…”
325      01/30/18 email from Hong Peng to
         franklin.tao.2011@gmail.com titled, “Expedia
         travel confirmation – Feb. 1…”

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No.      Description                                       I.D.   Off.   Adm.   Witness
326      06/21/18 email between fzuzhaopin@163.com
         and jrecinportal@jst.go.jp b’ccing
         franklin.tao.2017@gmail.com with subject,
         “[189952-5] please reply us: JREC-IN Portal]…”
327      (Intentionally Blank)
328      (Intentionally Blank)
329      (Intentionally Blank)
330      (Intentionally Blank)
331      (Intentionally Blank)
332      (Intentionally Blank)
333      (Intentionally Blank)
334      (Intentionally Blank)
335      (Intentionally Blank)
336      (Intentionally Blank)
337      (Intentionally Blank)
338      (Intentionally Blank)
339      (Intentionally Blank)
340      (Intentionally Blank)
341      (Intentionally Blank)
342      (Intentionally Blank)
343      (Intentionally Blank)
344      (Intentionally Blank)
345      (Intentionally Blank)
346      (Intentionally Blank)
347      (Intentionally Blank)
348      (Intentionally Blank)
349      (Intentionally Blank)
350      Thumb drive seized from Tao’s person
351      Presentation for 2/25/2019 NNSFC grant
         application
351A     English translation of the above (DOJ-01422345)
352      NNSFC cross-strait grant application dated
         2/25/2019 (U190520049)
352A     English translation of the above (DOJ-01421975)
353      NNSFC grant application dated 2/28/2019
354      Tao TECS (Travel) Records
355      TECS Certification (Tao)
356      Nguyen TECS (Travel) Records
357      TECS Certification (Nguyen)
358      Copy of Tao Personal Passport #1
359      (Intentionally Blank)
360      (Intentionally Blank)
361      (Intentionally Blank)
362      (Intentionally Blank)

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No.     Description                                     I.D.   Off.   Adm.   Witness
363     (Intentionally Blank)
364     (Intentionally Blank)
365     (Intentionally Blank)
366     (Intentionally Blank)
367     (Intentionally Blank)
368     (Intentionally Blank)
369     (Intentionally Blank)
370     (Intentionally Blank)
371     (Intentionally Blank)
372     (Intentionally Blank)
373     (Intentionally Blank)
374     (Intentionally Blank)
375     (Intentionally Blank)
376     (Intentionally Blank)
377     (Intentionally Blank)
378     (Intentionally Blank)
379     (Intentionally Blank)
380     (Intentionally Blank)
381     (Intentionally Blank)
382     (Intentionally Blank)
383     (Intentionally Blank)
384     (Intentionally Blank)
385     (Intentionally Blank)
386     (Intentionally Blank)
387     (Intentionally Blank)
388     (Intentionally Blank)
389     (Intentionally Blank)
390     (Intentionally Blank)
391     (Intentionally Blank)
392     (Intentionally Blank)
393     (Intentionally Blank)
394     (Intentionally Blank)
395     (Intentionally Blank)
396     (Intentionally Blank)
397     (Intentionally Blank)
398     (Intentionally Blank)
399     (Intentionally Blank)
400     Photographs of Center for Environmentally
        Beneficial Catalysis (CEBC)
401     Photograph of exterior of CEBC, showing sign
402     Photograph of exterior of CEBC
403     Photograph of exterior of CEBC, “B” Building



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No.     Description                                        I.D.   Off.   Adm.   Witness
404     Photograph of Exterior of Room 112, “B’
        Building
405     Photograph showing room designated as room
        “D” by FBI – Feng Tao
406     Photograph of desk in room designated as room
        “D” by FBI – Feng Tao
407     Photograph of desk, chairs, and book case in
        room designated as room “D” by FBI – Feng Tao
408     Photograph of desk chairs and monitors in room
        designated as room “D” by FBI – Feng Tao
409     Photograph of bookcases in room designated as
        room “D” by FBI – Feng Tao
410     Photograph of desk and bookcases in room
        designated by FBI as room “D” – Feng Tao
411     Photograph of desk, taken looking toward door in
        room designated by FBI as room “D” – Feng Tao
412     Photograph of desktop computer in room “D”
413     (Intentionally Blank)
414     (Intentionally Blank)
415     Photograph of items 4 and 5 on desk in room D
416     Photograph of thumb drive with evidence flag “4”
        in room D
417     Photograph of thumb drive with evidence flag “5”
        in room D
418     Photograph of table with evidence flag “6” next
        to item in room D
419     Photograph of thumb drive with evidence flag “6”
        in room D
420     Photograph with desk, monitors and evidence flag
        “7” in room D
421     Thumb drive with evidence flag 7 found in Room
        D
422     (Intentionally Blank)
423     (Intentionally Blank)
424     (Intentionally Blank)
425     Photograph showing evidence flags 8 and 9 on
        stack of documents on floor of Room D
426     Photograph of handwritten document with
        evidence flag “8”
427     Photograph of Specs document with evidence
        flag “9”
428     (Intentionally Blank)
429     Photograph of misc travel documents found in
        room D

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No.     Description                                        I.D.   Off.   Adm.   Witness
430     Photograph of People’s Republic of China Travel
        passport found in Room D
431     Photograph of pages 16 and 17 of passport
432     Photograph of pages 18 and 19, with photograph
        of Tao Feng
433     Photograph of pages 20 and 21
434     Photograph of pages 20 and 21
435     Photograph of pages 20 and 21
436     Photograph of page 29
437     Photograph of page 30 and 31
438     Photograph of back, showing photograph of name
        of Tao Feng
439     Photograph of open drawer in room D containing
        evidence flags 10, 11, and 12
440     Thumb drive marked with evidence flag “10”
441     (Intentionally Blank)
442     Letter from Zhang to Prof Tao, thanking Tao,
        next to evidence flag “11”
443     (Intentionally Blank)
444     Photograph with open drawer (right side of desk)
        in Room D, showing evidence flags 13, 14, 15,
        and 16
445     Photograph of thumb drive next to evidence flag
        “13”
446     Photograph of thumb drive next to evidence flag
        “14” found in Room D
447     Photograph of thumb drive next to evidence flag
        “15” found in room D
448     Business cards of FZU employees found in Room
        D
449     Photograph of bookshelf with red notebook and
        evidence flag “17”
450     Photograph of 2018 planner with evidence flag
        “17”
451     Document next to evidence flag “18”
452     (Intentionally Blank)
453     (Intentionally Blank)
454     Photograph showing Room 109 (lab) designated
        by FBI as room AA
455     Photograph showing Room 109 (lab), designated
        by FBI as room AA
456     (Intentionally Blank)
457     (Intentionally Blank)
458     (Intentionally Blank)

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No.      Description                                        I.D.   Off.   Adm.   Witness
459      (Intentionally Blank)
460      (Intentionally Blank)
461      (Intentionally Blank)
462      (Intentionally Blank)
463      (Intentionally Blank)
464      (Intentionally Blank)
465      Photograph of interior of room designated by FBI
         as Room CC
466      Photograph of interior of room designated by FBI
         as Room CC
467      Photograph of interior of room designated by FBI
         as Room CC
468      (Intentionally Blank)
469      (Intentionally Blank)
470      (Intentionally Blank)
471      Photograph of interior of room 5, designated by
         FBI as Room DD
472      (Intentionally Blank)
473      (Intentionally Blank)
474      (Intentionally Blank)
475      (Intentionally Blank)
476      (Intentionally Blank)
477      Imaged Hard Drive-Tao’s Workstation
         (HARCFL114317.E01 and
         HARCFL114318.E01) (PHYSICAL)
478      Fuzhou University Card seized by FBI at search
         of KU (PHYSICAL)
479      SPECS Letter to Fuzhou University seized by
         FBI at search of KU (PHYSICAL)
480      Chinese government award letter seized by FBI at
         search of KU (PHYSICAL)
481      Red 2018 Planner seized by FBI at KU search
         (PHYSICAL)
482      Powerpoint Presentation seized by FBI at KU
         search (PHYSICAL)
483      FTK report identifying items located on
         Defendant Tao’s KU workstation (HARCFL-19-
         550: HARCFL114317.E01 and
         HARCFL114318.E01)
484      Changjiang Scholar defense application
484A     English translation of above (DOJ-01422173)
485      Tao’s Changjiang Scholar application, Fuzhou
         University recommendation
485A     English translation of above (DOJ-01418427)

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No.      Description                                        I.D.   Off.   Adm.   Witness
486      Tao’s Changjiang Scholar application, supporting
         materials
486A     English translation of above (DOJ-01418246)
487      Signed addendum to Fuzhou University contract,
         version 1, dated 3/5/2018
487A     English translation of above (DOJ-01424240)
488      Signed addendum to Fuzhou University contract,
         version 1, dated 3/5/2018
488A     English translation of above (DOJ-01424241)
489      Application Form for Fuzhou University Talent
         Support & Labor Service Fee Expenses (New
         Projects)
489A     English translation of above (DOJ-01420972)
490      (Intentionally Blank)
491      NNSF-C Application Form dated 3/4/2018
         (submitted)
491A     English translation of above (DOJ-01420976)
492      NNSF-C Letter Notification dated 5/3/2018
492A     English translation of above (DOJ-01422097)
493      NNSF-C Application Form dated 8/23/2018
493A     English translation of above (DOJ-01421078)
494      Email dated 3/17/2019 from Tao to Yu-Wen
         Chen re: NNSF-C 2/25/2019 grant application
494A     English translation of above (DOJ-01421034)
495      Fuzhou University Mentors Mutual Selection
         Form signed by Tao dated 3/28/2018
495A     English translation of above (DOJ-01422547)
496      Fuzhou University Mentors Mutual Selection
         Form signed by Tao dated 3/30/2018
496A     English translation of above (DOJ-01422551)
497      (Intentionally Blank)
498      Screenshot of Fuzhou University Notice dated
         5/20/2018
498A     English translation of above (DOJ-01424009)
499      Email dated 3/1/2019 from Tao’s KU email to
         Tao’s Fuzhou University email
499A     English translation of above (DOJ-01424036)
500      Year 2018 Changjiang Scholars Forum Series
         Chemistry and Chemical Engineering Sub Forum
         Conference Receipt
500A     English translation of the above (DOJ-01424247)
501      (Intentionally Blank)
502      (Intentionally Blank)
503      Tao’s Bio

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No.      Description                                     I.D.   Off.   Adm.   Witness
503A     English translation of above (DOJ-01424258)
504      Application Report for Fujian Engineering
         Research Center
504A     English translation of above (DOJ-01422558)
505      Presentation Fujian Province Key Laboratory
         Application Report
505A     English translation of above (DOJ-01422650)
506      Fujian Province Development and Reform
         Commission Notice Regarding 2018 Provincial
         Engineering Research Center Organization
         Applications
506A     English translation of above (DOJ-01424192)
507      Equipment Schematic
507A     English translation of above (DOJ-01422543)
508      IEF Viewer Report
509      Chrome cookies information for Fuzhou
         University, NNSFC, and other websites
509A     Chrome log-in information for Fuzhou
         University, NNSFC, and other websites
509B     Chrome Shortcuts information for Fuzhou
         University, NNSFC, and other websites
509C     Chrome Web visits information for Fuzhou
         University, NNSFC, and other websites
510      Telephone call recorded by defendant with
         filename: CALLU_6-2-2018_18-0-
         40_0061450310621.mp3

510A     Transcript English Translation (DOJ-01420463)
511      Telephone call recorded by defendant with
         filename: CALLU_21-2-2018_23-59-
         37_p15742929366.mp3

511A     Transcript English Translation (DOJ-01420473)
512      Telephone call recorded by defendant with
         filename: CALLU_27-2-2018_20-8-
         34_p14044062207.mp3

512A     Transcript English Translation (DOJ-01420495)
513      Telephone call recorded by defendant with
         filename: CALLU_23-1-2018_21-40-
         16_0118613599048782.mp3

513A     Transcript English Translation (DOJ-01420523)


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No.      Description                                     I.D.   Off.   Adm.   Witness
514      Telephone call recorded by defendant with
         filename: CALLU_26-2-2018_21-6-
         22_p15174201066.mp3

514A     Transcript English Translation (DOJ-01420523)
515      Telephone call recorded by defendant with
         filename: CALLU_6-3-2018_4-48-
         23_p8613763866098.mp3

515A     Transcript English Translation (DOJ-01420523)
516      Telephone call recorded by defendant with
         filename: CALLU_3-5-2018_22-4-
         23_unavailable.mp3
516A     Transcript English Translation (DOJ-01420523)
517      Telephone call recorded by defendant with
         filename: CALLU_22-2-2018_7-51-
         7_5103160757.mp3.mpg

517A     Transcript English Translation (DOJ-01420583)
518      Telephone call recorded by defendant with
         filename: CALLU_29-4-2018_23-17-
         11_5103160757.mp3.mpg

518A     Transcript English Translation (DOJ-01420583)
519      Telephone call recorded by defendant with
         filename: CALLU_16-3-2018_23-33-
         12_0118613859085287.mp3
519A     Transcript English Translation (DOJ-01421817)
520      Telephone call recorded by defendant with
         filename: CALLU_26-4-2018_3-5-
         32_0118613763869933.mp3
520A     Transcript English Translation (DOJ-01421817)
521      Telephone call recorded by defendant with
         filename: CALLU_26-2-2018_9-56-
         24_8656216977.
         mp3
521A     Transcript English Translation (DOJ-01423973)
522      Telephone call recorded by defendant with
         filename: CALLU_27-2-2018_18-5-
         39_p16785923168.mp3
522A     Transcript English Translation (DOJ-01423973)
523      Telephone call recorded by defendant with
         filename: CALLU_23-4-2018_23-59-
         9_9132917355.mp3

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No.     Description                                     I.D.   Off.   Adm.   Witness
524     (Intentionally Blank)
525     (Intentionally Blank)
526     (Intentionally Blank)
527     (Intentionally Blank)
528     (Intentionally Blank)
529     (Intentionally Blank)
530     (Intentionally Blank)
531     (Intentionally Blank)
532     (Intentionally Blank)
533     (Intentionally Blank)
534     (Intentionally Blank)
535     (Intentionally Blank)
536     (Intentionally Blank)
537     (Intentionally Blank)
538     (Intentionally Blank)
539     (Intentionally Blank)
540     (Intentionally Blank)
541     (Intentionally Blank)
542     (Intentionally Blank)
543     (Intentionally Blank)
544     (Intentionally Blank)
545     (Intentionally Blank)
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No.     Description                                     I.D.   Off.   Adm.   Witness
567     (Intentionally Blank)
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599     (Intentionally Blank)
600     Photograph of exterior of residence
601     Photograph of front door showing “4512”
602     (Intentionally Blank)
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No.      Description                                        I.D.   Off.   Adm.   Witness
610      Photograph of backside of business cards with
         evidence flag #20 (in Chinese)
611      (Intentionally Blank)
612      (Intentionally Blank)
613      (Intentionally Blank)
614      (Intentionally Blank)
615      Photograph of office space at residence
616      Photograph of office space at residence showing
         desk and credenza
617      Photograph showing desk with exhibits on top of
         desk and in drawer
618      Photographs of electronic devices
619      Chang Jiang Distinguished Scholar Certificate
         (PHYSICAL)
619A     English Translation of Chang Jiang Distinguished
         Scholar Certificate (DOJ-01420395)
620      SPECS document (PHYSICAL)
621      Electronic devices at residence--
         Device 113023.E01: 1.5 TB Toshiba USB 3.0
         External HD (PHYSICAL)
621A     Electronic devices at residence – Device
         HARCFL109101.E01: 500GB Seagate
         Barracuda SATA HDD disk image
621B     Electronic devices at residence --
         HARCFL113027.E01: 1 TB Western Digital My
         Passport USB 3.0 HDD
621C     Electronic devices at residence --
         HARCFL109108.E01: 64GB SanDisk Ultra
         microSDXC I card and phone from which card
         came from
621D     Electronic devices at residence --
         HARCFL10916.E01: 500 GB Seagate Barracuda
         SATA HDD
621E     Electronic devices at residence -- F. Ex. 621f:
         HARCFL113017.E01 -- 8GB Kingston thumb
         drive
622      FTK report identifying items located on Tao’s
         residential electronic devices (HARCFL-19-503)
623      (Intentionally Blank)
624      (Intentionally Blank)
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628      (Intentionally Blank)

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No.     Description                                           I.D.   Off.   Adm.   Witness
629     (Intentionally Blank)
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637     (Intentionally Blank)
638     (Intentionally Blank)
639     (Intentionally Blank)
640     (Intentionally Blank)
641     (Intentionally Blank)
642     Document with filename, “Funding from PRC”
643     Expedia Kansas City to Fuzhou flight itinerary
        for May 2018 trip, filename: Fuzhou-5-5.pdf
644     Google Chrome Browse History, filename:
        History.[AD].html
645     (Intentionally Blank)
646     Screenshot with bank account information from
        Industrial Bank Co., Ltd. For Yu Zhengjun;
        mmexport1554266131251.jpg
647     (Intentionally Blank)
648     (Intentionally Blank)
649     (Intentionally Blank)
650     NSFC username and password; filename:
        NSFC.docx
651     (Intentionally Blank)
652     (Intentionally Blank)
653     (Intentionally Blank)
654     (Intentionally Blank)
655     (Intentionally Blank)
656     (Intentionally Blank)
657     (Intentionally Blank)
658     Redacted screenshot of bank account balances;
        filename: Xingye Bank from Ye.pdf
659     (Intentionally Blank)
660     (Intentionally Blank)
661     Travelocity travel itinerary for 11/17/17 trip to
        Fuzhou; filename: 回中机票.pdf
662     Travelocity travel itinerary for 11/24/17 trip from
        PRC; filename: 回美机票.pdf



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No.     Description                                         I.D.   Off.   Adm.   Witness
663     Expedia travel itinerary for 12/5/17 trip to PRC;
        filename:
        堪萨斯-上海.pdf
664     Expedia travel itinerary sent to
        charrolp@gmail.com for 12/13/17 trip from
        Fuzhou; filename: 福州-堪萨斯.pdf
665     Expedia travel itinerary from 2/1/18 trip to
        Fuzhou; filename: 美国到中国.pdf
666     (Intentionally Blank)
667     FTK report identifying items located on Tao’s
        residential electronic devices (HARCFL-19-683)
668     Photograph of Windows directory with
        subfolders; filename: 20190412_044608.jpg
669     Photograph of CJSP award dated May 2018;
        filename:
        20190618_232814.jpg

670     (Intentionally Blank)
671     (Intentionally Blank)
672     (Intentionally Blank)
673     Screenshot of Defendant’s WeChat account;
        filename: Screenshot_2019-04-06-06-53-32.png
674     Screenshot of travel itinerary from PRC to RSK
        from 4 24 19 to 4 27 19
675     Screenshot regarding NIH investigation;
        filename: Screenshot_2019-05-25-12-09-18.png
676     Screenshot regarding NIH investigation;
        filename: Screenshot_2019-05-25-12-09-35.png
677     May 5, 2018 Expedia itinerary to Fuzhou
678     May 8, 2018 Expedia itinerary from Fuzhou
679     (Intentionally Blank)
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682     (Intentionally Blank)
683     (Intentionally Blank)
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No.      Description                                        I.D.   Off.   Adm.   Witness
692      (Intentionally Blank)
693      (Intentionally Blank)
694      (Intentionally Blank)
695      (Intentionally Blank)
696      (Intentionally Blank)
697      (Intentionally Blank)
698      (Intentionally Blank)
699      (Intentionally Blank)
700      Bank records, including Certificate of Custodian
         for Bank of America account ending in 3934 in
         name of Hong Peng Feng Tao and 1300 in name
         of Hong Peng, including certificate of custodian
         by Yoselin Zelaya Lopez in response to subpoena
         dated October 15, 2019
700A     Bank records including Certificate of Custodian
         for Bank of America account ending in 3934 in
         name of Hong Peng Feng Tao and 1300 in name
         of Hong Peng
700B     Bank records including Certificate of Custodian
         for Bank of America account ending in 3934 in
         name of Hong Peng Feng Tao and 1300 in name
         of Hong Peng
701      Bank of America Records provided 12/19/2019
         related to accounts ending in 3934, 1047, 1300,
         5740, 9962, 4573, 9975, 6573, 7544, 5737, 6544,
         and credit card accounts ending in 4062 and 3075
702      Bank records, including records custodian
         affidavit, for JP Morgan Chase Bank records
         obtained via subpoena, related to accounts for
         accounts ending in 0191, 1071, 4420,
703      Bank records, including records custodian
         declaration JP Morgan Chase
704      Bank records, including records custodian
         declaration, obtained via subpoena to JP Morgan
         Chase related to wire transfers
705      Records obtained from Old National Bank via
         subpoena related to account ending in 3489
705A     Records obtained from Old National Bank via
         subpoena related to account ending in 3489
706      Certificate of Custodian related to Old National
         Bank records, signed by Jill Herr
707      Bank records obtained by subpoena to Citibank
         N.A., including Certificate of Custodian



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No.     Description                                      I.D.   Off.   Adm.   Witness
708     Records obtained by subpoena to The Clearing
        House,
709     Records obtained from Kansas Secured Title,
        including certificate of custodian
710     Summary Chart showing purchase of residence at
        4512 Cedar Ridge Court
711     (Intentionally Blank)
712     (Intentionally Blank)
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No.      Description                                          I.D.   Off.   Adm.   Witness
748      (Intentionally Blank)
749      (Intentionally Blank)
750      Website printout,
         http://fuzhou.xeuexiadaquan.com/news/2018/201
         6970.html
750A     English translation of above (DOJ-01422255)
751      Website printout (in Chinese)
         Https://nengyuan.nxu.edu.cn/info/10451/1535.ht
         m, dated 6/13/2019
751A     English translation of above (DOJ-01422255)
752      Website printout of chem.fz.edu.cn….. (Tao’s
         faculty information)
752A     English translation of above
753      (Intentionally Blank)
754      Website printout from WeChat – “Happy news!
         Prof Fu Dao Tao Feng was selected as the
         candidate list for the special professor ……”
755      Journal Article “In Situ Formation of Isolated
         Bimetallic PtCe…..” 2018 American Chemical
         Society Chem. Rev.
756      Journal Article “Synergy of Single-Atom Ni…..”
         from 2019 Journal of American Chemical
         Society Chem. Rev.
757      Journal Article “Understanding Catalyst Surfaces
         during Catalysis….” From 2019 American
         Chemical Society Chem. Rev.
758      Printed webpage (in Chinese)
         “jw.beijing.gov.cn\kyc\gzdt_15524\index_5”
758A     English translation of above
759      Printed webpage (in Chinese)
         “jw.beijing.gov.cn\kyc\gzdt_15524….”
759A     English translation of above
760      List, in Chinese, of Distinguished Professors
761      Webpage, dated 7/9/2021,
         https://rsc.fzu.edu.cn/html....
761A     English translation of above
762      Printed webpage:
         http://rsc.fzu.edu.cn/html/gzdt/szk/2019/05/17/fcc
         8443f-6e84-4cbb-8d02-d02f0df4ca47.html
762A     English translation of above
763      Printed webpage
         http://rsc.fzu.edu.cn/attach/2019/07/03/352058.do
         cx
763A     English translation of above

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No.      Description                                        I.D.   Off.   Adm.   Witness
764      Printed webpage:
         http://fuzhou.xuexiaodaquan.com/news/2018/201
         6970.html
764A     English translation of above ( DOJ-01422255)
765      Printed webpage:
         http://www.sohu.com/a/253293599_349424
765A     English translation of above (DOJ-01422255)
766      Printed webpage:
         https://freewechat.com/a/MzAxMzMyMDkzMA
         ==/2649334100/1
766A     English translation of above (DOJ-01422255)
767      http://gaokeyan.com/university/details.php?uid=1
         117&t=talent
767A     English translation of above (DOJ-01422255)
768      http://news.sciencenet.cn/htmlnews/2018/1/39917
         6.shtm
768A     English translation of above ( DOJ-01422255)
769      https://nengyuan.nxu.edu.cn/info/1045/1535.htm
769A     English translation of above (DOJ-00000567)
770      Chongqing University Press Announcement dated
         4/19/2019 re: Tao’s presentation at Chongqing
         University and identifying him as Changjiang
         Scholar who established a molecular catalysis
         institute at Fuzhou University
         (hgxy.cqu.edu.cn/info/1181/3657.htm)
770A     English translation of above (DOJ-01420391)
771      2011 PRC Ministry of Education Changjiang
         Scholar Program Implementing Measures
771A     English translation of above (DOJ-01425158)
772      2018 PRC Ministry of Education Changjiang
         Scholar Program Implementing Measures
772A     English translation of above (DOJ-01425146)
773      CNKI Search for Tao listing his affiliation with
         FZU at “Proceedings of the 19th National
         Conference on Catalysis of the Chinese Society
         of Chemistry”
773A     English translation of the above




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